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     B.S., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of C.S., and Concerning J.P. and M.M. Minor Child No. 24SC706Supreme Court of Colorado, En BancDecember 16, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA738
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    